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 5   Attorney for Defendant
     EBONY PIPKINS
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 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         No. Cr. S-05-0122 GEB
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )         [PROPOSED] STIPULATION AND
                                   )         ORDER TO CONTINUE TRIAL
14   TALTON D. ROBINSON,           )         CONFIRMATION HEARING AND
     EBONY L. PIPKINS, and         )         JURY TRIAL
15   DARRELL E. ROBINSON,          )
                                   )
16             Defendants.         )
     ______________________________)
17
18        Counts One through Three of the indictment charge Talton D.
19   Robinson and Ebony L. Pipkins each with conspiracy to possess
20   with intent to distribute at least 50 grams of a mixture
21   containing cocaine base, possession with intent to distribute at
22   least 50 grams of a mixture containing cocaine base, and
23   possession of a firearm by a felon.       Count Four of the indictment
24   charges Talton D. Robinson and Darrell E. Robinson with
25   conspiracy to distribute at least 50 grams of a mixture
26   containing cocaine base.     Count Five of the indictment charges
27   Darrel E. Robinson with possession with intent to distribute at
28   least 50 grams of a mixture containing cocaine base.          Finally,

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 1   the indictment alleges prior felony drug convictions relating to
 2   each defendant.      All three defendants face exposure to
 3   significant mandatory minimum sentences.
 4        As to Defendant Talton D. Robinson, Matthew Bockmon of the
 5   Office of the Federal Defender was relieved on November 18, 2005
 6   and Fred Dawson was appointed to represent him at that time.              As
 7   such, attorney Dawson needs time to conduct appropriate discovery
 8   and perform a factual investigation in order to present an
 9   adequate defense on behalf of Talton Robinson.            As to the other
10   defendants, the defense factual investigation is not yet
11   complete, with several potential witnesses yet to be located or
12   interviewed, records that must be obtained, and research which
13   must be conducted relating to the Defendants’ backgrounds.               As to
14   all defendants, time is needed to conduct further settlement
15   discussions in a attempt to reach a global resolution of the
16   matter.
17        Based on the foregoing, IT IS HEREBY stipulated between the
18   United States of America through its undersigned counsel, Anne
19   Pings, Assistant United States Attorney, together with counsel
20   for the defendants that the previously set trial confirmation
21   hearing of December 16, 2005 be continued to March 10, 2006 at
22   9:00 a.m. and the previously set jury trial of January 10, 2006
23   be continued to March 28, 2006 at 9:00 a.m.
24        Time under the Speedy Trial Act has previously been excluded
25   through January 10, 2006.        It is further stipulated and agreed
26   between the parties that the period between January 10, 2006 and
27   March 28, 2006 should be excluded in computing the time within
28   which the trial of the above criminal prosecution must commence

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 1   for purposes of the Speedy Trial Act for the purposes of further
 2   factual investigation and discovery, research relating to the
 3   Defendants’ criminal histories, investigation regarding the
 4   Defendants’ backgrounds, interviewing of necessary witnesses, and
 5   settlement discussions.     All parties stipulate and agree that
 6   this is an appropriate exclusion of time within the meaning of
 7   Title 18, United States Code, section 3161(h)(8)(A) and (B)(iv),
 8   and Local Code T4.
 9   Dated: December 9, 2005                   Respectfully submitted,
10
11                                                       /S/
                                               FRED DAWSON
12                                             Attorney for Defendant
                                               Talton D. Robinson
13
14   Dated: December 9, 2005
15                                                      /S/
                                               LORIE TEICHERT
16                                             Attorney for Defendant
                                               Ebony L. Pipkins
17
18   Dated: December 9, 2005
19                                                      /S/
                                               KATHRYN KOHLMAN DRULINER
20                                             Attorney for Defendant
                                               Darrell E. Robinson
21
22
23   Dated: December 9, 2005                   McGREGOR W. SCOTT
                                               United States Attorney
24
25                                       By:            /S/
                                               ANNE PINGS
26                                             Assistant U.S. Attorney
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 1                                       ORDER
 2        For the reasons set forth above, the Court finds that the
 3   ends of justice to be served by granting counsel time to
 4   diligently investigate and prepare outweigh the best interests of
 5   the public and the defendant in a speedy trial.           Accordingly,
 6   time under the Speedy Trial Act is excluded through March 28,
 7   2006, pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv) and Local
 8   Code T4.    The jury trial shall commence that day at 9:00 a.m.
 9        IT IS SO ORDERED.
10   DATED:    December 14, 2005
11                                               /s/ Garland E. Burrell, Jr.
                                                 GARLAND E. BURRELL, JR.
12                                               United States District Judge
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